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5
                                UNITED STATES DISTRICT COURT
6                              EASTERN DISTRICT OF WASHINGTON

7
      UNITED STATES OF AMERICA,                  NO. CR-06-0083-EFS
8
                         Plaintiff,
9                                                FINAL ORDER GRANTING A NEW
                  v.                             TRIAL ON COUNT 1, SETTING
10                                               TRIAL, AND EXCLUDING SPEEDY
      NORMAN FORD,                               TRIAL ACT CALCULATIONS
11
                         Defendant.
12

13
            Hearings occurred in the above-captioned matter on February 5 and
14
     26, 2009, and March 27, 2009.               Defendant Norman Ford was present,
15
     represented by Peter Schweda.           Jared Kimball appeared on the United
16
     States’ behalf at the first hearing, Robert Ellis appeared on the United
17
     States’ behalf at the second hearing, and Joe Harrington appeared on the
18
     United States’ behalf at the third hearing.                Before the Court were
19
     Defendant’s Motion to Dismiss Count 1 of the Superseding Indictment, or,
20
     in   the   Alternative    for    Judgment    of   Acquittal     (Ct.   Rec.   401)    and
21
     Defendant’s Motion to Reconsider Motion for New Trial (Ct. Rec. 400).
22
     Also   before     the   Court   was   the   legal    question   of     whether   a   life
23
     imprisonment sentence is the mandatory minimum for a felony murder
24
     conviction under 18 U.S.C. § 1111.                  After reviewing the submitted
25
     material, including the responses to the Court’s tentative order, and
26


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1    relevant authority and hearing from counsel, the Court is fully informed.

2    As set forth below, the Court grants a new trial on Count 1.

3    A.    Background

4          A criminal complaint was filed against Defendant on July 13, 2006.

5    (Ct. Rec. 1.) Gerald Smith was appointed as defense counsel on July 19,

6    2006.     (Ct. Rec. 18.)    On August 8, 2006, the Indictment (Ct. Rec. 24)

7    was filed, charging Defendant with 1) Accessory After the Fact to Murder

8    in the First Degree and 2) Burglary.
9          On March 6, 2007, the Government filed a Superseding Indictment (Ct.

10   Rec. 73), which replaced the Accessory with Murder in the First Degree

11   charge with first-degree felony (burglary) murder and added a firearms

12   charge.    Defendant was arraigned on the Superseding Indictment on March

13   13, 2007.

14         Defendant sought leave to retain counsel on July 31, 2007, and on

15   August 7, 2007, the Court permitted substitution of defense counsel

16   Gerald Smith and continued the trial to allow newly-retained Mark Vovos

17   time to prepare for trial.        Defendant declined a plea agreement offered

18   by the Government to Counts 2 and 3, which would have recommended a

19   binding thirteen-year sentence, and proceeded to trial on January 14,

20   2008.   On February 4, 2008, the jury found Defendant guilty of Counts 1

21   (felony murder) and 2 (first-degree burglary), and not guilty of Count

22   3 (use of a firearm in furtherance of a crime of violence).

23         Defendant filed the following post-trial motions on February 11,

24   2008: 1) Motion for Judgment of Acquittal Pursuant to Rules of Criminal

25   Procedure 29(c) (Ct. Rec. 324) and 2) Motion Pursuant to Rule 33 of

26   Criminal Procedure for a        New Trial (Ct. Rec. 325).          The Court denied


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1    Defendant’s post-trial motions.         (Ct. Rec. 365.)     While the parties were

2    preparing for sentencing, it came to Defendant’s attention that he may

3    face a mandatory life imprisonment sentence on Count 1.                     The Court

4    granted Defendant’s motion for appointment of new counsel and granted new

5    counsel - Peter Schweda - time to familiarize himself with the file, file

6    motions, and address sentencing issues.             (Ct. Recs. 379 & 382.)          On

7    December 24, 2008, Defendant filed the instant motions before the Court

8    to which the Government responded.
9    B.    Imprisonment Penalty for 18 U.S.C. § 1111 Felony Murder Conviction

10         The Court ordered the parties to brief whether the Court must impose

11   a life sentence for a felony murder conviction under 18 U.S.C. § 1111.

12   Although Defendant recognizes that the statutory language calls for

13   either death or life imprisonment for first-degree murder, Defendant

14   contends that 1) the Court has discretion to deviate from a life sentence

15   pursuant to 18 U.S.C. § 3553 and U.S. Sentencing Guidelines (“the

16   Guidelines”) § 2A1.1 and 2) a mandatory life imprisonment sentence for

17   felony murder violates the Equal Protection Clause.                  The Government

18   maintains that life imprisonment for felony murder is required by §

19   1111(b)   and   that   such   a   sentence    is   consistent   with    §   3553,   the

20   Guidelines, and the Equal Protection Clause.              As explained below, the

21   Court concludes that it must sentence a defendant convicted of felony

22   murder under 18 U.S.C. § 1111(a) to life imprisonment and that this

23   sentence does not violate the Equal Protection Clause.

24         Section 1111 states:

25         (a)   Murder is the unlawful killing of a human being with
           malice aforethought. Every murder perpetrated by poison, lying
26         in wait, or any other kind of willful, deliberate, malicious,
           and premeditated killing; or committed in the perpetration of,

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1          or attempt to perpetrate, any arson, escape, murder,
           kidnapping, treason, espionage, sabotage, aggravated sexual
2          abuse or sexual abuse, child abuse, burglary, or robbery; or
           perpetrated as part of a pattern or practice of assault or
3          torture against a child or children; or perpetrated from a
           premeditated design unlawfully and maliciously to effect the
4          death of any human being other than him who is killed, is
           murder in the first degree.
5
           Any other murder is murder in the second degree.
6
           (b) Within the special maritime and territorial jurisdiction
7          of the United States,

8          Whoever is guilty of murder in the first degree shall be
           punished by death or by imprisonment for life;
9
     18 U.S.C. § 1111 (underlining and italics added). Ninth Circuit case law
10
     clearly establishes that § 1111(b) mandates life imprisonment for first-
11
     degree murder.      United States v. LaFluer, 971 F.2d 200 (9th Cir. 1991)
12
     However, the parties dispute whether a distinction should be made between
13
     first-degree premeditated murder and first-degree felony murder.                    Based
14
     on   the   statutory       language   and   case   law,   the    Court     determines   a
15
     distinction should not be made.
16
           In United States v. LaFleur, the defendant was convicted of both
17
     premeditated murder and felony murder. Id. at 203-04. The Ninth Circuit
18
     analyzed    whether    §    1111(b)   “mandates    a   life     sentence    without   the
19
     possibility of release for defendants convicted of first degree murder.”
20
     Id. at 207.    After looking at § 1111, the sentencing statutes (18 U.S.C.
21
     §§ 3553 & 3581), and the Guidelines, the Ninth Circuit determined that
22
     the district court did not have discretion to impose a sentence other
23
     than life - “a defendant convicted of first degree murder under § 1111(a)
24
     must be sentenced to life in prison.”              Id. at 208.       See also United
25
     States v. Donley, 878 F.2d 735 (3d Cir. 1989) (finding that § 1111 is not
26
     unconstitutionally vague - it imposes mandatory life imprisonment for

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1    first-degree murder); but see United States v. Gonzales, 922 F.2d 1044,

2    1051 (2d Cir. 1991) (noting that it was not addressing non-premeditated

3    first-degree murder).

4          A conclusion that LaFleur’s ruling applies to both first-degree

5    premeditated murder and first-degree felony murder is supported by the

6    2007 Ninth Circuit decision, United States v. Arcand, 220 Fed. Appx. 508

7    (9th Cir. 2007) (unpublished opinion).           Arcand involved a felony murder

8    conviction based on the predicate felony of arson.               The Ninth Circuit
9    ruled that the district court “had no authority to depart downward from

10   the statutory minimum of life imprisonment for first degree murder.” Id.

11   at 510.   Judge Clifton in his concurrence disclosed his personal opinion

12   that a mandatory life imprisonment sentence for the instant felony murder

13   conviction was not justice.         Id. at 511.

14         This conclusion - that a defendant guilty of § 1111(a) felony murder

15   faces mandatory life imprisonment - is consistent with 18 U.S.C. § 3553

16   because the sentencing court’s § 3553 sentencing analysis is limited by

17   the applicable statutory minimum and maximum.            United States v. Lo, 447

18   F.3d 1212, 1234 (9th Cir. 2006); United States v. Booker, 543 U.S. 220

19   (2005).      Furthermore, Defendant’s reliance upon Guideline § 2A1.1 is

20   misplaced because the Guidelines adopt the statutory minimum as the

21   Guidelines minimum.      U.S.S.G. § 5C1.1(c)(2); see United States v. Sands,

22   968   F.2d    1058   (10th   Cir.   1992)   (recognizing     that   departure       from

23   § 1111(b)’s life imprisonment is not permitted under the Guidelines); see

24   also United States v. Williams, 939 F.2d 721, 726 (9th Cir. 1991).

25         Lastly, based on LaFleur, the Court concludes that a mandatory life

26   imprisonment sentence for all first-degree murders does not violate the


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1    Equal Protection Clause.        “Because § 1111(b) neither classifies persons

2    by suspect classes nor classifies in such a way as to impair the exercise

3    of a fundamental right, we apply the rational basis test [to an equal

4    protection argument].”       LaFleur, 952 F.2d at 213.       In LaFleur, the Ninth

5    Circuit recognized that a mandatory life sentence for first-degree murder

6    does not deny equal protection of the laws because there are rational

7    reasons for Congress to impose different penalties on individuals guilty

8    of first-degree murder as compared to those guilty of murder under 21
9    U.S.C.   §   848(e).      Id.   at   211-13.     Likewise,    Congress    rationally

10   determined that a sentence of “any term of years or life” for a killing

11   during a robbery or burglary to take a DEA controlled substance was

12   appropriate.     18 U.S.C. § 2118.

13         In summary, when (and if) the Court sentences Defendant for felony

14   murder under 18 U.S.C. § 1111(a), the Court must impose life imprisonment

15   because § 3553 and the Guidelines are subject to § 1111(b)’s minimum and

16   Congress rationally mandates life imprisonment for all first-degree

17   murder convictions.

18   C.    Defendant’s Motion to Dismiss Count 1 of the Superseding Indictment,

19         or, in the Alternative for Judgment of Acquittal

20         Defendant contends the Court lacks subject matter jurisdiction to

21   convict Defendant because a state burglary cannot serve as an 18 U.S.C.

22   § 1111(a) predicate felony.          At the February 5, 2009 hearing, Defendant

23   clarified that he is also arguing that the Court should have utilized

24   state law to define Count 1 because felony (burglary of a residence) is

25   not federally defined.       In the alternative, Defendant asks the Court to

26   reconsider Defendant’s motion for judgment of acquittal because no


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1    rational juror could have found § 1111(a)’s essential burglary element.

2    The   Government     opposes     the   motion,    arguing    that   the   Court     has

3    jurisdiction over Count 1, the Court properly instructed the jury on

4    Count 1, and the jury’s verdict was supported by the evidence.                       As

5    explained below, the Court concludes it has jurisdiction over Count 1,

6    but that the jury instructions failed to properly define felony (burglary

7    of a residence) murder.        Thus, a new trial on Count 1 - limited to aiding

8    and abetting felony murder - is necessary.
9          The charges in this case required the Court to consider the Major

10   Crimes Act, 18 U.S.C. § 1153, which is a “gap-filling” statute.                United

11   States v. Pluff, 253 F.3d 490, 493 (9th Cir. 2001).                 The Major Crimes

12   Act states in pertinent part:

13         Any Indian who commits against the person or property of
           another Indian or another person any of the following offenses,
14         namely, murder, . . . burglary, . . . within Indian country,
           shall be subject to the same law and penalties as all other
15         persons committing any of the above offenses, within the
           exclusive jurisdiction of the United States.
16
     18 U.S.C. § 1153(a).       Section 1153(b) then states:
17
           [a]ny offense referred to in subsection (a) of this section
18         that is not defined and punished by Federal law in force within
           the exclusive jurisdiction of the United States shall be
19         defined and punished in accordance with the laws of the State
           in which such offense was committed as are in force at the time
20         of such offense.

21   18 U.S.C. § 1153(b).      Section 1153 creates federal jurisdiction over the

22   enumerated crimes if committed by an Indian in Indian country; however,

23   § 1153 is not a substantive penal statute given that it does not define

24   or punish the substantive crimes it lists.             United States v. Bear, 932

25   F.2d 1279, 1281 (9th Cir. 1990), abrogated in part on other grounds as

26   recognized by United States v. Male Juvenile, 280 F.3d 1008, 1018 (9th


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1    Cir. 2002).       What § 1153 does do, in addition to creating federal

2    jurisdiction over the enumerated crimes, is direct a court “where to turn

3    in order to define and punish the criminal offenses over which the court

4    has jurisdiction.”        Bear, 932 F.2d. at 1281.

5          Here, Defendant was charged with two (2) Major Crimes Act enumerated

6    offenses: murder and burglary.           In regards to Count 1, the Superseding

7    Indictment alleged:

8               On or about June 1, 2006, in the Eastern District of
           Washington, within Indian Country, to-wit: within the external
9          boundaries of the Spokane Indian Reservation and on trust
           land, the Defendant herein, Norman Ford, an Indian, with
10         malice aforethought, did unlawfully kill Gary R. Flett, Jr. by
           shooting him with a firearm, in the perpetration of a
11         burglary, in violation of 18 U.S.C. §§ 1111(a), 1153(a), and
           2.
12
     (Ct. Rec. 73.)     Section 1111(a) defines murder as “the unlawful killing
13
     of   a   human    being    with   malice    aforethought.”      The    statute      then
14
     differentiates between first- and second-degree murder.                  Per § 1111,
15
     first-degree murder includes felony (burglary) murder, i.e., “murder .
16
     . . committed in the perpetration of, or attempt to perpetrate, any . .
17
     . burglary . . . .”
18
           Federal case law makes clear that for felony murder, murder’s
19
     “malice aforethought” requirement is satisfied by proving intent to
20
     commit the predicate felony - here, burglary.             United States v. Miguel,
21
     338 F.3d 995, 1006 (9th Cir. 2003); see also United States v. Pearson,
22
     203 F.3d 1243, 1270 (10th Cir. 2000).            Accordingly, in order to prove
23
     felony   (burglary)     murder,    the   Government    must   prove   the   following
24
     occurred: an unlawful killing of a human being during the intended
25
     perpetration of, or attempt to perpetrate, a burglary.
26


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1          Whether the Court properly instructed on Count 1 - felony (burglary

2    of a residence) murder - is disputed.                Although there are federal

3    statutes criminalizing certain types of burglaries, there is no federal

4    law that defines and punishes burglary of a residence - the predicate

5    offensive conduct at issue here.           See United States v. Bear, 932 F.2d

6    1279, 1281 (9th Cir. 1991).          Therefore, because federal law does not

7    define burglary of a residence, the Ninth Circuit directs courts to turn

8    to state law to define burglary of a residence. Male Juvenile, 280 F.3d
9    at 1021; Bear, 932 F.2d at 1281; see also United States v. Norquay, 905

10   F.2d 1157, 1158-59 (8th Cir. 1990).           The Court so relied on Washington

11   law to define burglary of a residence, concluding that jury instructions

12   for both first-degree burglary and residential burglary as defined by

13   Washington were appropriate.          The Court abides by its decision to so

14   instruct on burglary of a residence.

15         A closer question is whether the Court should have turned to

16   Washington law to define federal (burglary of a residence) murder. After

17   considering the Major Crimes Act, § 1111(a), and Bear1, the Court

18   concludes that both state and federal law should not be used to define

19   a single § 1153 enumerated offense.            Therefore, if a murder charge is

20   predicated on a federally-undefined felony, state law must be used in its

21   entirety to define, and punish, the felony murder.

22         The Court recognizes that § 1111(a) defines murder.                  Yet, in a

23   felony murder charge, federal case law substitutes § 1111(a)’s “malice

24   aforethought” requirement with proof that the defendant intended to

25   commit the underlying predicate felony.            Here, the predicate felony is

26
           1
               932 F.2d at 1281.
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1     burglary of a residence - an offense the Ninth Circuit recognizes is not

2     federally defined.         Bear, 932 F.2d at 1281.           Accordingly, there is a

3     gap.   Federal       law   does   not   define    the   specific     offense    charged.

4     “Consequently, since the type of . . . [murder] [allegedly] committed by

5     . . . [Defendant] is ‘not defined and punished by Federal law in force

6     within    the   exclusive     jurisdiction       of   the   United   States,’    .   .   .

7     [Defendant’s] offense must ‘be defined and punished in accordance with

8     the laws of the State in which such offense was committed.’”                   Bear, 932
9     F.2d at 1281 (quoting 18 U.S.C. § 1153(b)).                 Therefore, Washington law

10    should be used to define and punish felony (burglary of a residence)

11    murder.

12           The Court is reaching a different conclusion than the district court

13    in United States v. Narcia, 776 F. Supp. 491, 495 (D. Ariz. 1991).                   The

14    Arizona district court determined “the felony murder component of . . .

15    [the felony (burglary of a residence] murder count] shall be defined by

16    18 U.S.C. § 1153(a), and the burglary component of . . . [the same count]

17    shall be defined by state law.”           Id.    This is similar to how the Court

18    instructed the jury here - using state law to define burglary and then

19    § 1111(a) to define felony murder’s other requirements.                 However, upon

20    further reflection of the Ninth Circuit’s focus in Bear on whether the

21    specific offense is defined by federal law, the Court concludes that

22    federal law does not define felony (burglary of a residence) murder.

23    Therefore, the Court should have utilized state law to define felony

24    (burglary       of    a    residence)     murder,       including     utilizing      RCW

25    9A.32.030(1)(c)’s felony murder “exception.”                 See also 11 Wash. Prac.

26    Crim. Jury Instr. 19.01.          The Court’s failure to so instruct prejudiced


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1     Defendant given that it is possible the jury may have found Defendant

2     proved the felony murder “exception” under Washington law.

3           In summary, the Court has jurisdiction over Count 1 pursuant to the

4     Major Crimes Act because murder is an enumerated § 1153 offense.                    See

5     Male Juvenile, 280 F.3d at 1018. However, the Court concludes it must use

6     state law to define felony (burglary of a residence) murder.

7           Alternatively, assuming the Court properly used both state and

8     federal law to define felony (burglary of a residence) murder, the Court
9     concludes the Count 1 instructions failed to set forth the required

10    elements.    The Government presented this case as both a) “straight-up”

11    felony murder and b) aiding and abetting felony murder2.                   The Court

12    initially denied Defendant’s motion for a new trial based on an erroneous

13    “straight-up” felony murder instruction (Third Revised Instruction No.

14    16) because:

15          it is clear based on the not-guilty verdict on Count 3 that
            the jury concluded the evidence did not support a finding,
16          beyond a reasonable doubt, that Defendant either used,
            brandished, or discharged a firearm. Accordingly, the jury
17

18            2
                  Aiding and abetting liability under 18 U.S.C. § 2 is not
19
     specifically referenced by the Major Crimes Act.                However, the Ninth
20
     Circuit recognizes that federal laws of general applicability apply to
21
     Indians and non-Indians, both within and outside of Indian country.                  See
22
     United States v. Begay, 42 F.3d 486, 497-500 (9th Cir. 1994); see also
23
     United States v. Yankton, 168 F.3d 1096, 1097-98 (8th Cir. 1999).
24

25   Section 2 (aiding and abetting) is a statute of general applicability.

26   Accordingly, the Government properly prosecuted Defendant under an aiding

     and abetting theory of liability.
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1           could not find, beyond a reasonable doubt, that Defendant
            committed “straight-up” felony murder. Therefore, in order to
2           reach a guilty verdict on Count 1, the jury must have found,
            beyond a reasonable doubt, that Defendant aided and abetted
3           the felony murder.

4     (Ct. Rec. 365.)      The Court finds this earlier ruling erroneous because

5     the Third Revised Instruction No. 16 did not require the Government to

6     prove that Defendant was the killer; rather, it required the Government

7     to prove that “[Mr. Flett’s] death was caused by Defendant Norman Ford.”

8     (Ct. Rec. 313.)     The Court concludes the term “caused” is too broad and
9     inappropriately allowed the jury to determine that Defendant need not be

10    the killer - a requirement for “straight-up” felony murder.                         The

11    ambiguity created by the broad term “caused” was not clarified by the

12    remainder of the instruction and, if anything, the last sentence added

13    to the ambiguity: “It is sufficient if the Government proves beyond

14    reasonable doubt that Defendant knowingly and intentionally committed

15    burglary - either First-Degree Burglary or Residential Burglary-, and

16    that the killing of Gary R. Flett, Jr. occurred during, and as a

17    consequence of, Defendant’s commission of the burglary.”              Id.   When the

18    instruction is read in its entirety, the jury could have determined that

19    Defendant’s conduct of kicking in the door “caused” the murder by

20    providing Joey Moses with access to the inside of the residence to kill

21    Gary Flett.    Accordingly, Third Revised Instruction No. 16's failure to

22    require the Government to prove that Defendant was the killer is a fatal

23    defect in the “straight-up” felony murder instruction.

24          The Court recognizes that, if state law may be used to solely define

25    burglary of a residence for purposes of felony murder, its initial

26    Instruction No. 16 was legally correct.             However, when the Court was


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1     advised by the jury that “[w]ithout more clarification [on Instruction

2     No. 16] we will not come to a conclusion” (Ct. Rec. 293), the Court

3     modified Instruction No. 16 in an attempt to eliminate jury confusion.

4     See United States v. Hayes, 794 F.2d 1348, 1352 (9th Cir. 1986) (“[T]he

5     district court has the responsibility to eliminate confusion when a jury

6     asks for clarification of a particular issue.”)            Accordingly, Defendant

7     was clearly prejudiced by the Court’s modifications to Instruction No.

8     16 given that the jury would have been unable to reach a decision on

9     Count 1.

10          The erroneous “straight-up” felony murder instruction (Instruction

11    No. 16) was compounded by a legally-deficient aiding and abetting

12    instruction (Instruction No. 17).          (Ct. Rec. 278.)      Instruction No. 17

13    required the jury to find that Defendant aided in the commission of

14    Murder in the First Degree, but failed to require the jury to find that

15    Defendant aided in the burglary.            To aid and abet felony (burglary)

16    murder, the jury needed to find that Defendant aided Joey Moses in

17    committing both murder and burglary.         See United States v. Parks, 411 F.

18    Supp. 2d 846, 857-58 (S.D. Ohio 2005).             The jury’s guilty finding on

19    Count 2 (first-degree burglary) does not remedy Instruction No. 17's

20    failure to require the jury to find Defendant aided Mr. Moses’ commission

21    of burglary because Count 2 asked the jury to find that Defendant

22    committed burglary, not that he knowingly and intentionally aided Mr.

23    Moses in committing burglary.

24          Accordingly, given the defects in both felony murder instructions,

25    the Court concludes the jury’s guilty verdict on Count 1 cannot stand,

26    and a new trial is required on Count 1.           Defendant’s motion is granted

      and denied in part: Count 1 is not dismissed and a judgment of acquittal
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1     will not be entered; however, a new trial on Count 1 - limited to aiding

2     and abetting felony murder - will be held.

3     D.    Defendant’s Motion to Reconsider Motion for New Trial

4           Defendant asks the Court to reconsider its Order denying a new trial

5     because his Sixth and Fourteenth Amendment rights to be informed about

6     Count 1's nature and cause were violated.                The Government contends

7     Defendant has not demonstrated that the interests of justice require a

8     new trial on the record because Defendant was apprised of the nature and

9     cause of the accusations in satisfaction of the law.3                     The Court

10    initially denied Defendant’s reconsideration motion at the February 5,

11    2009 hearing; however, upon further reflection of the authority and facts

12    of this case, the Court finds that the interests of justice require a new

13    trial because Defendant was not correctly advised by either the Court or

14    defense counsel about the mandatory life imprisonment sentence he faced

15    if convicted of Count 1 - felony (burglary of a residence) murder.

16          Federal Rule of Criminal Procedure 33 provides:

17          (a) Defendant’s Motion.    Upon the defendant’s motion, the
            court may vacate any judgment and grant a new trial if the
18          interest of justice so requires. . . .

19          (b) Time to File.
                 (1) Newly Discovered Evidence.     Any motion for a new
20                    trial grounded on newly discovered evidence must be
                      filed within 3 years after the verdict or finding of
21                    guilty. . . .
                 (2) Other Grounds. Any motion for a new trial grounded
22                    on any reason other than newly discovered evidence
                      must be filed within 7 days after the verdict or
23                    finding of guilty.

24

25
              3
26                 The Government waives any objection to the timeliness of

     Defendant’s motion.
     ORDER ~ 14
     Case
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1     Defendant claims he discovered in August 2008 that his Sixth and

2     Fourteenth Amendment rights were violated.                 Accordingly, Defendant

3     appears to contend that his motion for new trial is timely based on newly

4     discovered evidence in August 2008.

5           The Sixth Amendment states:

6           In all criminal prosecutions, the accused shall enjoy the
            right to a speedy and public trial, by an impartial jury of
7           the State and district wherein the crime shall have been
            committed, which district shall have been previously
8           ascertained by law, and to be informed of the nature and cause
            of the accusation; to be confronted with the witnesses against
9           him; to have compulsory process for obtaining witnesses in his
            favor, and to have the Assistance of Counsel for his defense.
10
      (Emphasis added.)       The Fourteenth Amendment’s due process clause also
11
      requires that a defendant receive notice as to the nature of the charges
12
      against him.      United States v. Minore, 292 F.3d 1109, 1115 (9th Cir.
13
      2002).      “‘[R]eal notice of the true nature of the charge against [a
14
      defendant is] the first and most universally recognized requirement of
15
      due process.’” Bousely v. United States, 523 U.S. 614, 618 (1998)
16
      (quoting Smith v. O’Grady, 312 U.S. 329, 334 (1941)).
17
            There is no question that the Superseding Indictment fairly informed
18
      Defendant that he was being charged with murder.                   The Superseding
19
      Indictment did not specifically advise Defendant as to the penalty he
20
      faced if convicted of felony murder.           Yet, it did refer to 18 U.S.C. §
21
      1111(a), which defines first-degree murder.
22
            The    penalty   slip   (Ct.    Rec.   75),   the   Assistant   United   States
23
      Attorney’s comments at the arraignment, and the magistrate judge’s
24
      comments at the arraignment also provided Defendant with information
25
      about Count 1's penalties.           This information, neither individually nor
26


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1     cumulatively, provided Defendant with clear and correct notice as to the

2     potential penalty on Count 1.

3           The penalty slip provision, which is prepared by the Government,

4     stated: "CAG death or imprisonment for life; and/or up to $125,000 fine;

5     not more than 5 years supervised release; a $100 special penalty

6     assessment."      (Ct. Rec. 75.)         The penalty slip failed to clearly

7     identify that life imprisonment is the mandatory minimum, especially

8     since it mentioned supervised release.

9           At the March 13, 2007 arraignment, both the AUSA and the magistrate

10    judge discussed Count 1's penalties.          The AUSA stated:

11          Under the Code, Your Honor, the defendant is subject to death
            or imprisonment for life and/or up to a $125,000 fine on Count
12          1, not more than – strike that – well, normally, the five
            years of supervised release and a $100 special penalty.
13
      (Ct. Rec. 400 pp. 9-10.) Although the AUSA referenced life imprisonment,
14
      this comment was quickly followed by a supervised release discussion.
15
      Accordingly, it was reasonable for Defendant to believe that life
16
      imprisonment was the maximum penalty - not also the minimum penalty. The
17
      reasonableness of this belief was then bolstered by the magistrate
18
      judge’s comments:
19
            As you heard [the AUSA] explain, Count 1, under the statute,
20          carries the possibility of a death penalty or up to
            imprisonment for life. You are not to be subjected to that
21          aspect of the statute that permits the death penalty as the
            proper opting-in notice is not going to incur, and there will
22          be a filed statement of intent in that regard – up to a
            $125,000 fine, and up to five years of court supervision, plus
23          a mandatory assessment of $100 as to Count 1.

24    Id. p. 12.    Not only did the magistrate judge not inform Defendant that

25    life imprisonment was mandatory, but the magistrate judge also referenced

26    supervised release.


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1           This Court did not have the occasion to advise Defendant as to the

2     penalties he was facing on Count 1 because no change of plea hearing was

3     held.   Although Defendant was offered a plea agreement, this agreement

4     did not set forth Count 1's penalties because it was a plea agreement to

5     Counts 2 and 3.

6           The Government provided both defense counsel - Mr. Smith and Mr.

7     Vovos - with a letter indicating that life imprisonment was Count 1's

8     mandatory minimum imprisonment sentence. Mr. Vovos states that he shared

9     this letter with Defendant; however, he also shared that the letter’s

10    mandatory life imprisonment assertion was erroneous and advised Defendant

11    that the Court had the discretion to depart downward if Defendant did not

12    intend the killing.       (Ct. Rec. 423.)       Defendant submitted a personal

13    declaration stating that he was told he faced “‘up to’ [a] life sentence”

14    on Count 1.    (Ct. Rec. 403 p. 2.)       Further, Defendant declared “I never

15    understood nor was I informed by the Court or the United States Attorney

16    that the penalty for First Degree Murder was a mandatory life sentence.”

17    Id.

18          Based upon the above events, and viewing the entire proceeding in

19    its entirety, the Court concludes that Defendant’s Sixth and Fourteenth

20    Amendment rights to be informed of the true nature of Count 1 were

21    violated - he did not discover this violation until August 2008.                    The

22    Court recognizes that the Federal Rules of Criminal Procedure were not

23    violated because the magistrate judge complied with Rule 10's arraignment

24    requirements: 1) ensure that Defendant had a copy of the indictment, 2)

25    state the substance of the charges, and 3) ask Defendant to plead to the

26    indictment.     Because Defendant entered a not-guilty plea, Rule 11(b)’s

      requirements did not apply.        Fed. R. Crim. P. 11(b)(1)(H) (“any maximum
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1     possible penalty, including imprisonment, fine, and term of supervised

2     release”) & I (“any mandatory minimum penalty”); see United States v.

3     Jasper, 481 F.2d 976 (3d Cir. 1973) (invalidating guilty plea because

4     misinformed     as    to   penalties).        Nonetheless,      Defendant     has   a

5     constitutional right to be correctly informed about Count 1's mandatory

6     minimum life imprisonment penalty. This right is similar to that enjoyed

7     by a Defendant when pleading guilty or when waiving the right to counsel.

8     Id.; United States v. Forrester, 512 F.3d 500, 508-09 (9th Cir. 2008)

9     (recognizing that a defendant’s decision to waive the right to counsel

10    is open to attack if the defendant did not know the minimum and maximum

11    penalties); United States v. Stubbs, 279 F.3d 402, 411 n.4 (6th Cir.

12    2002).    The incorrect information provided to Defendant at arraignment,

13    along with defense counsel’s failure4 to correct this information,

14

15         4
               A reasonably prudent attorney would have conducted legal research
16   to ascertain Count 1's applicable penalty.             See Washington v. Watkins,
17
     655 F.2d 1346, 1357 (5th Cir. 1981) (“While neither in capital nor
18
     noncapital cases is a defendant entitled to perfect or error-free
19
     representation, the number, nature, and seriousness of the charges
20
     against the defendant are all part of the ‘totality of the circumstances
21
     in the entire record’ that must be considered in the effective assistance
22
     calculus, just as are the strength of the prosecution’s case and the
23
     strength and complexity of the defendant’s possible defenses.”).                 Legal
24

25   research would have identified that the Ninth Circuit and other federal

26   case law make clear that life imprisonment is mandatory for felony

     murder. See United States v. Arcand, 220 Fed. Appx. 508 (9th Cir. 2007).
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1     resulted in Defendant not being advised about Count 1's mandatory life

2     imprisonment sentence.5       Defendant did not learn that life imprisonment

3     was Count 1's minimum sentence until August 2008. Accordingly, the facts

4     supporting Defendant’s motion for new a trial were not within Defendant’s

5     knowledge at the time of trial.

6           The Court recognizes that the Ninth Circuit has limited the ability

7     of a defendant to seek a new trial under Rule 33 based on ineffective

8     assistance of counsel.        See United States v. Pirro, 104 F.3d 297, 299

9     (9th Cir. 1997); United States v. Hanoum, 33 F.3d 1128, 1130-31 (9th Cir.

10    1994).    However, the Court finds this case presents a rare circumstance

11    where the record is sufficiently developed to permit determination of the

12    issue.    In addition, this is not a case where Defendant is arguing that

13    trial counsel failed to prepare for trial, call a particular witness, or

14

15   Because Mr. Vovos failed to appreciate that life imprisonment was
16   mandatory for Count 1, he provided Defendant with ineffective assistance
17
     upon which Defendant based his decision to reject the plea agreement and
18
     proceed to trial.         See Strickland v. Washington, 466 U.S. 668, 687
19
     (1984); Hughes v. Borg, 898 F.2d 695, 702 (9th Cir. 1990).
20
            5
                The Court’s ruling that felony (burglary of a residence) murder
21
     must be defined, and therefore punished, by state law does not alter the
22
     fact that Defendant was not provided notice that he was facing a
23
     mandatory life sentence if convicted of Count 1.                   This is because
24

25   Defendant is also facing mandatory life imprisonment if convicted of

26   felony (burglary in the first degree) murder under Washington law.                   RCW

     9A.32.040 & 9A.32.040.
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1     seek exclusion of particular evidence; rather, Defendant was unaware of

2     the mandatory life imprisonment sentence he faced if convicted of Count

3     1 until after trial was held.          Therefore, Defendant’s ability to make

4     informed    tactical    pretrial    and   trial    decisions    was   substantially

5     impaired.    For these reasons, the Court finds Defendant’s motion for a

6     new trial is timely and that his Sixth and Fourteenth Amendment rights

7     were violated because Defendant based his decision to proceed to trial

8     on incorrect information regarding Count 1's statutory minimum.6

9     E.    Pretrial, Trial, and Sentencing

10          The Court previously issued a Tentative Order Granting a New Trial

11    on Count 1 and Setting Trial (Ct. Rec. 432), which set forth an April 29,

12    2009 pretrial conference date and a May 4, 2009 trial date.              Pursuant to

13    18 U.S.C. § 3161(e), the “action occasioning the retrial becomes final”

14    with the entry of this Order; accordingly, the retrial on Count 1 must

15    commence within seventy (70) days of this Order, absent a permissible

16    reason to exclude time under § 3161(h).

17          At the March 17, 2009 conference, defense counsel orally requested

18    a five-month trial continuance in order to prepare for trial on Count 1.

19    Defendant supported counsel’s continuance request and signed a Statement

20

21
            6
                 The Court recognizes that if Instruction No. 16 had not been
22
     modified the issue regarding whether Defendant’s Sixth and Fourteenth
23
     Amendment rights to be informed of the true nature of Count 1 were
24

25   violated would not have arisen.         This is because the jury’s note clearly

26   advised that it would be unable to reach a unanimous decision on Count

     1.    (Ct. Rec. 293.)
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1     of Reasons in support thereof.         (Ct. Rec. 437.)      The Government did not

2     object to the continuance request.

3           To ensure defense counsel is afforded adequate time to prepare for

4     trial on Count 1, the Court grants the motion, extends the pretrial

5     motion deadline, and resets the tentatively-scheduled pretrial conference

6     and trial dates.         The Court finds Defendant’s continuance request is

7     knowing, intelligent, and voluntary and the ends of justice served by

8     granting a continuance outweigh the best interest of the public and

9     Defendant in a speedy trial. The delay resulting from Defendant’s motion

10    is therefore excluded under the Speedy Trial Act.

11    F.    Conclusion

12          For the above-given reasons, IT IS HEREBY ORDERED:

13          1.    Defendant’s Motion to Dismiss Count 1 of the Superseding

14    Indictment, or, in the Alternative for Judgment of Acquittal (Ct. Rec.

15    401) is GRANTED (new trial on Count 1) AND DENIED (Count 1 not dismissed

16    and judgment of acquittal not entered).

17          2.   Defendant’s Motion to Reconsider Motion for New Trial (Ct. Rec.

18    400), which was previously orally denied, is GRANTED.

19          3.   The jury’s guilty verdict on Count 1 (Ct. Rec. 318) is VACATED.

20          4.   No later than April 6, 2009, counsel shall meet and confer to

21    discuss discovery disclosures.         No later than April 9, 2009, the parties

22    shall file a joint report that sets forth:

23                a.     the date(s) exhibit lists will be exchanged;

24                b.     the date(s) expert reports will be exchanged;

25                c.     the    date   the   Government    will   disclose     grand      jury

26                       transcripts; and


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1                 d.     the date the Government will disclose its final pretrial

2                        witness list, which shall occur no less than one week

3                        before the pretrial conference.

4     See FED. R. CIV . P. 16; United States v. W.R. Grace, 526 F.3d 499, 509

5     (9th Cir. 2008).        On each applicable disclosure deadline (with the

6     exception of the grand jury transcripts), counsel shall email copies of

7     the   expert     report(s),    exhibit   list,   and/or     the    Government’s       final

8     pretrial    witness     list    to     Shea_Orders@waed.uscourts.gov            and    then

9     electronically file a Notice of Compliance with this requirement.

10          5.    The tentatively-set April 29, 2009 pretrial conference is

11    STRICKEN.      A new pretrial conference is set for May 28, 2009, at 8:30

12    a.m. in SPOKANE.       Any motions to be heard at this pretrial conference

13    shall be filed NO LATER THAN May 1, 2009.             Responses and replies to any

14    motions shall be filed and served in accordance with LR 7.1(c) and (d).

15          6.    A final pretrial conference is set for August 6, 2009, at 9:00

16    a.m. in SPOKANE.      All pretrial motions, including motions in limine and

17    Daubert motions, must be filed NO LATER THAN July 13, 2009.                     Responses

18    and replies to any motions shall be filed and served in accordance with

19    LR 7.1(c) and (d).

20          7.    Trial briefs, requested voir dire, and joint proposed jury

21    instructions - limited to Count 1 (aiding and abetting felony murder)

22    shall be filed and served NO LATER THAN September 4, 2009.

23                a.     Trial briefs shall not exceed twenty (20) pages without

24                       prior   court     approval.       LR   39.1.      To    obtain     court

25                       approval,    a    party    must   file   a     motion   to    file    an

26                       overlength        brief,   demonstrating        good     cause       why

                         supplemental briefing is necessary.
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1                 b.    Requested    voir   dire   shall    not   duplicate    information

2                       elicited    in   the    Clerk’s    Office    Jury    Questionnaire

3                       ("COJQ") and the Court’s seven-question sheet, which the

4                       jurors will answer orally in open court during voir dire,

5                       see    previously-filed      Court's      Criminal    Jury    Trial

6                       Procedures Letter.      Any questions in addition to those in

7                       the COJQ that counsel suggest should be sent pretrial to

8                       the entire jury panel must be filed no later than four

9                       weeks before trial.

10                c.    Jury instructions.       The court is inclined to reuse Jury

11                      Instruction Nos. 1-11, 13-14, and 24-33.             Proposed jury

12                      instructions shall be in addition to or in lieu of these

13                      identified instructions. In particular, each party shall

14                      submit the following proposed jury instructions: (1)

15                      elemental instruction for aiding and abetting felony

16                      burglary of a residence murder and (2) an information

17                      instruction advising the jury that a prior trial was held

18                      and/or that Defendant was previously found guilty of

19                      Count 2 and not guilty of Count 3.            Parties shall also

20                      submit a proposed verdict form.

21          8.   The jury trial on Count 1 - limited to aiding and abetting

22    felony murder - is reset from the tentative May 4, 2009 date to September

23    14, 2009, at 9:00 a.m.       Counsel shall meet with the Court in Chambers at

24    8:15 a.m. on the day of trial.        Any motions unaddressed at the pretrial

25    conference shall be heard in open court on the day of trial at 8:30 a.m.,

26    at which time Defendant shall be present.


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1           9.    Pursuant to 18 U.S.C. § 3161(h)(8)(B)(i) and (iv), the Court

2     DECLARES EXCLUDABLE from Speedy Trial Act calculations the period from

3     March 27, 2009, the date defense counsel moved to continue, through

4     September 14, 2009, the new trial date, as the period of delay granted

5     for adequate preparation by counsel.

6           10.    Sentencing on Count 2 is set for July 9, 2009, at 10:30 a.m.

7     in SPOKANE.      Sentencing materials shall be filed no later than June 15,

8     2009.

9           IT IS SO ORDERED. The District Court Executive is directed to enter

10    this Order and to provide copies to counsel.

11          DATED this       30th       day of March, 2009.

12

13                                       s/Edward F. Shea
                                          EDWARD F. SHEA
14                                United States District Judge

15    Q:\Criminal\2006\0083.final.posttrial.wpd

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     ORDER ~ 24
